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                        Nos. 21-16506 & 21-16695

 United States Court of Appeals for the Ninth Circuit
                             EPIC GAMES, INC.,
                                       Plaintiff/counter-defendant,
                                          Appellant/cross-appellee,
                                    v.
                                 APPLE INC.,
                                         Defendant/counter-claimant,
                                           Appellee/cross-appellant.

          Appeal from the United States District Court for the
     Northern District of California (Hon. Yvonne Gonzalez Rogers),
                         No. 4:20-cv-05640-YGR

   APPLE INC.’S MOTION TO STAY MANDATE PENDING
        PETITION FOR A WRIT OF CERTIORARI


Cynthia Richman                        Mark A. Perry
Zachary B. Copeland                    Joshua M. Wesneski
GIBSON, DUNN & CRUTCHER LLP            WEIL, GOTSHAL & MANGES LLP
1050 Connecticut Avenue, NW            2001 M Street NW, Suite 600
Washington, DC 20036                   Washington, DC 20036
                                       (202) 682-7511
Theodore J. Boutrous, Jr.              Mark.Perry@weil.com
Daniel G. Swanson
GIBSON, DUNN & CRUTCHER LLP            Julian W. Kleinbrodt
333 S. Grand Ave.                      GIBSON, DUNN & CRUTCHER LLP
Los Angeles, CA 90071                  555 Mission St., Suite 3000
                                       San Francisco, CA 94105

                           Counsel for Apple Inc.
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    Apple Inc. respectfully requests that this Court stay the mandate

pending the resolution of a petition for a writ of certiorari that Apple in-

tends to file in the Supreme Court. The petition will raise substantial

questions of law and there is good cause for a stay. Fed. R. App. P. 41(d)(1).

The petition will not be frivolous or filed for purposes of delay. 9th Cir. R.

41-1. Epic Games, Inc. has not consented to the relief requested.

                            INTRODUCTION
    The district court issued a sweeping injunction prohibiting Apple

from enforcing its anti-steering rules against all developers of iOS apps

offered for distribution in the United States, even though the sole named

plaintiff (Epic Games, Inc.) did not seek or obtain class certification, and

did not prove that an injunction running in favor of non-parties was nec-

essary to make it whole. The injunction cannot be reconciled with Federal

Rule of Civil Procedure 23(b)(2), which expressly addresses injunctive re-

lief extending beyond the named plaintiff, and exceeds the district court’s

authority under Article III, which limits federal court jurisdiction to actual

cases and controversies.

    The panel’s decision affirming the injunction departs from Supreme

Court and Circuit precedent holding that an injunction cannot be any

broader than necessary to make the plaintiff whole, and that relief cannot

otherwise extend beyond the named plaintiff without class certification
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under Rule 23. The Supreme Court has recently and repeatedly signaled

concern with the use of such universal injunctions in single-plaintiff ac-

tions and is poised to resolve this controversial practice. The panel’s deci-

sion on Article III injury, based on unsubstantiated economic theories

proffered on appeal—but never advanced, let alone proven, at trial—runs

headlong into the Supreme Court’s repeated pronouncements that a fed-

eral-court plaintiff must prove the prerequisites to standing.           These

weighty legal questions warrant review by the Supreme Court and, at the

very least, constitute substantial questions of law.

    There is good cause for the stay because if the mandate issues, Apple

will be required to change its business model to comply with the injunction

before judicial review has been completed. The undisputed evidence es-

tablishes that the injunction will limit Apple’s ability to protect users from

fraud, scams, malware, spyware, and objectionable content. On the other

hand, there would be no prejudice to Epic from a stay: Epic is not an iOS

app developer and does not stand to benefit from the injunction. Given

these extraordinary circumstances, a stay pending Apple’s petition for a

writ of certiorari is warranted.




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                             BACKGROUND
    The iOS App Store is a two-sided transaction platform that connects

app developers with iPhone and iPad users through simultaneous trans-

actions (1-ER-97–98; 1-ER-124), including both initial downloads and sub-

sequent in-app purchases (1-ER-37; 1-ER-68–70). Apple requires that all

native iOS apps be distributed through the App Store (1-ER-21 n.124;

1-ER-95–96), and that all in-app transactions for digital content be exe-

cuted using Apple’s proprietary IAP functionality (1-ER-34; 2-SER-526).

    Bypassing then-pending class action lawsuits brought by consumers

and other developers, Epic filed this lawsuit only on its own behalf and not

a putative class. 4-SER-895; see also Cameron v. Apple Inc., 19-cv-03074-

YGR (N.D. Cal.); In re Apple iPhone Antitrust Litig., 11-cv-06714-YGR

(N.D. Cal.). Epic alleged that the App Store distribution and IAP require-

ments are anticompetitive and violate the antitrust laws. 4-SER-895–907.

Epic also pointed to Apple’s anti-steering provisions—which prohibit de-

velopers from “steering” users away from the App Store through links or

communications within the app (1-ER-34)—as one way that Apple alleg-

edly enforces the challenged requirements, but did not bring a standalone

challenge to these provisions (4-SER-902–03; D.C. Dkt. No. 1 ¶¶ 184–291).

In addition to nine antitrust counts focused on the distribution and IAP

requirements, Epic summarily alleged that “Apple’s conduct, as described




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above, [also] violates California’s Unfair Competition Law.” D.C. Dkt. No.

1 ¶ 286.

    After a bench trial, the court found that Epic failed to carry its burden

of proof on its antitrust claims (1-ER-4), but concluded that Apple’s

anti-steering provisions are “unfair” under California’s Unfair Competi-

tion Law (“UCL”) (1-ER-168–69). Epic had introduced almost no evidence

regarding these anti-steering provisions at trial, because they were at the

periphery of its case. See 1-ER-166 (noting the record on the anti-steering

provisions was “less fulsome”). The district court did not hold a post-trial

evidentiary hearing to determine the appropriate remedy or its scope.

    The court entered a permanent injunction sua sponte, enjoining Apple

from prohibiting developers from (1) “[i]ncluding in their apps and their

metadata buttons, external links, or other calls to action that direct cus-

tomers to purchasing mechanisms, in addition to In-App Purchasing,” or

(2) “[c]ommunicating with customers through points of contact obtained

voluntarily from customers through account registration within the app.”

2-ER-195. Although the case involved a single plaintiff and no putative

(much less certified) class, the court applied the injunction to all develop-

ers of U.S.-based apps. Id; see also 1-ER-167; 1-ER-171.

    The court did not cite any evidence or make any findings that extend-

ing injunctive relief to non-parties was necessary to make Epic whole—as




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Epic never made such an argument at trial. In its Rule 52 order, the court

explained only that a state-law-based injunction could extend geograph-

ically beyond California’s borders under the Commerce Clause. 1-ER-170.

It did not address the reach to non-parties or the strictures of Rule 23,

even though Apple raised these arguments in its post-trial submission.

See D.C. Dkt. No. 779-1 ¶ 73 (arguing that because Epic brought the law-

suit in its own capacity, not as a class cation, it could assert only harm

accruing to it, not to other market participants); id. ¶ 721 (noting that Epic

had opted out of developer class action and “cannot assume the mantle of

a ‘pseudo-private attorney general’ and purport to vindicate the interests

of all developers” in an individual action); cf. id. ¶ 542.25. Indeed, the dis-

trict court explicitly recognized that Epic was differently situated than

other developers and was pursuing only its own interests. 1-ER-27 (“Mr.

Sweeney admitted while testifying under oath that he ‘would have’ ac-

cepted a deal ‘for [Epic Games] and no other developers’”); id. (“Epic Games

sought a ‘side letter’ or other special deal from Apple that would provide

plaintiff with unique, preferable terms”); see also 1-ER-6 (acknowledging

the related class action lawsuits).

     With regard to standing, Epic offered no evidence at trial that it had

ever been injured by the anti-steering provisions, much less that it was

continuing to suffer irreparable injury such that injunctive relief would be




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warranted. Moreover, based on Epic’s intentional breach of contract, Ap-

ple had lawfully terminated Epic’s developer program account and re-

moved all of its apps from the App Store. 1-ER-181–82. Epic therefore

cannot benefit from the injunction. After entering the injunction, the dis-

trict court said that Apple’s anti-steering provisions helped Apple main-

tain its commission rate, resulting in reduced royalties paid to Epic by

non-party affiliates that use Epic’s licensed software, Unreal Engine. 2-

ER-192 (citing 4-SER-1073–93). But the court’s conclusion was based on

Epic’s misrepresentation that royalties are paid on net profits after com-

mission, when Epic’s license agreement actually provides for royalties

based on gross sales. 4-SER-1079–80.

     This Court stayed the injunction pending appeal on December 8,

2021. 2-ER-189. That stay remains in place until the mandate issues. Id.

     Shortly before judgment in the district court, Apple entered into a set-

tlement in one of the related class actions, resolving the antitrust and un-

fair competition law claims of the majority of U.S. app developers. See

Cameron v. Apple Inc., 19-cv-03074-YGR (N.D. Cal. Nov. 5, 2021), Dkt. No.

451-1. That settlement required Apple to permit out-of-app communica-

tions (the subject of clause 1(ii) of the injunction in this case), but was si-

lent as to in-app links, buttons, or calls to action (the subject of clause 1(i)).

Id. ¶ 5.1.3.




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     On April 24, 2023, the panel affirmed the UCL judgment and injunc-

tion. C.A. Dkt. No. 222 (“Op.”) 77. It offered little analysis or consideration

of the district court’s authority to extend an injunction to non-parties with-

out a certified class (id. at 85), despite Apple’s argument that “an injunc-

tion applicable to other developers provides no benefit to Epic” and thus

“subverts Federal Rule of Civil Procedure 23(b)(2).” Apple Br. 111. In one

short paragraph, the panel approved the universal injunction based on the

notion that the anti-steering provisions could increase costs to Epic’s sub-

sidiaries and prevent more app users from becoming Epic Game Store con-

sumers. Op. 85. But the panel did not cite any cases or explain why these

supposed harms to Epic and its subsidiaries would permit an injunction

affecting the rights of thousands of non-party app developers, which have

no affiliation or relationship with Epic. Id. The panel held only that “the

district court did not abuse its discretion when setting the scope of the in-

junctive relief because the scope is tied to Epic’s injuries.” Id.

     As to Epic’s supposed injuries, Epic did not defend the district court’s

ruling or argue that the anti-steering provisions had harmed it directly,

including by reducing the amount of royalties that Epic could earn—tac-

itly conceding its misrepresentation to the district court. Instead, Epic ar-

gued that the Court could find Article III standing based on theories of

“marketplace dynamics” and “basic economics” advanced for the first time




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on appeal. Epic Resp. Br. 90. The panel affirmed, reasoning that remov-

ing the anti-steering provisions could affect the earnings of Epic’s subsid-

iaries and/or the Epic Games Store. Op. 77, 79–80. The panel cited no

trial evidence or findings by the district court in support. There are none.

                           LEGAL STANDARD
     Federal Rule of Appellate Procedure 41(d) permits the Court to stay

the issuance of the mandate pending the filing and disposition of a petition

for a writ of certiorari upon the applicant’s showing “that the petition

would present a substantial question and that there is good cause for a

stay.” Fed. R. App. P. 41(d)(1). The Court’s standard for granting such a

stay is lenient. The Court “often” stays the mandate pending certiorari,

as parties “need not demonstrate that exceptional circumstances justify a

stay.” United States v. Pete, 525 F.3d 844, 851 & n.9 (9th Cir. 2008) (quot-

ing Bryant v. Ford Motor Co., 886 F.2d 1526, 1528–29 (9th Cir. 1989)).

                REASONS TO STAY THE MANDATE
I.   Apple’s Petition Will Present Substantial Questions of Law
     The panel affirmed a universal injunction in a case brought by an in-

dividual, non-representative plaintiff that did not even try to prove Article

III injury in the district court. Apple intends to seek review in the Su-

preme Court because the panel’s decision raises far-reaching and im-

portant questions about (A) the limits of a federal court’s authority to issue




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an injunction extending to non-parties, without certifying a class or find-

ing that the relief is necessary to make the plaintiff whole, and (B) the

plaintiff’s obligation to prove its own Article III injury sufficient for pro-

spective relief. Both questions are “substantial” under this Court’s rules

and precedent.

      A. Nationwide Injunctions Are Controversial, and the
         Supreme Court Is Poised To Address the Issue
    1. The panel’s decision affirming the injunction departs from Su-

preme Court and Circuit precedent, and cannot be reconciled with Federal

Rule 23, which sets the requirements for obtaining classwide injunctive

relief. It does so at a time when class actions and universal injunctions

are receiving close scrutiny from Supreme Court Justices, legal scholars,

and knowledgeable observers. This is precisely the type of legal issue for

which a stay of the mandate is appropriate. The Supreme Court has cau-

tioned that injunctive relief should be “no more burdensome to the defend-

ant than necessary to provide complete relief to the plaintiffs.” Califano v.

Yamasaki, 442 U.S. 682, 702 (1979) (emphasis added). And it has held

that, in the absence of class certification under Rule 23, an “action is not

properly a class action” and should not be treated like one. Baxter v. Pal-

migiano, 425 U.S. 308, 310 n.1 (1976). Absent class certification, individ-

uals generally lack standing to seek relief on behalf of others. Powers v.

Ohio, 499 U.S. 400, 410 (1991).



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     Thus, the uniform rule among the circuits is that “[w]here relief can

be structured on an individual basis, it must be narrowly tailored to rem-

edy the specific harm shown.” Bresgal v. Brock, 843 F.2d 1163, 1170–71

(9th Cir. 1987); see also Meyer v. CUNA Mut. Ins. Soc’y, 648 F.3d 154, 169–

71 (3d Cir. 2011); Sharpe v. Cureton, 319 F.3d 259, 273 (6th Cir. 2003);

Brown v. Trs. of Bos. Univ., 891 F.2d 337, 361 (1st Cir. 1989). This rule

“applies with special force where there is no class certification.” L.A. Ha-

ven Hospice, Inc. v. Sebelius, 638 F.3d 644, 664 (9th Cir. 2011) (vacating a

nationwide injunction as overbroad); Easyriders Freedom F.I.G.H.T. v.

Hannigan, 92 F.3d 1486, 1501 (9th Cir. 1996) (injunctive relief must be

limited “to apply only to named plaintiffs”); see also Michael T. Morley,

Nationwide Injunctions, Rule 23(b)(2), and the Remedial Powers of the

Lower Courts, 97 B.U. L. Rev. 615, 634 (2017) (explaining that Rule

23(b)(2) is the “main restriction” on a district court’s power to issue nation-

wide injunctive relief).

     To obtain class certification and represent non-parties, the named

plaintiff in a lawsuit must satisfy the requirements of Rule 23(a). Fed. R.

Civ. P. 23(a) (“One or more members of a class may sue or be sued as rep-

resentative parties on behalf of all members only if: . . .” (emphasis added)).

And to maintain an action for classwide injunctive relief, the plaintiff must

show that “the party opposing the class has acted or refused to act on




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grounds that apply generally to the class, so that final injunctive relief or

corresponding declaratory relief is appropriate respecting the class as a

whole.” Fed. R. Civ. P. 23(b)(2). Rule 23(b)(2) thus “applies only when a

single injunction or declaratory judgment would provide relief to each

member of the class.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 360

(2011) (emphases added). “It does not authorize class certification when

each individual class member would be entitled to a different injunction

or declaratory judgment against the defendant.” Id.

       2. Here, the panel decision created a circuit split by holding that, as

long as an injunction is somehow “tied to” the named plaintiff’s supposed

injury, then the district court does not abuse its discretion in extending

the injunction, universally, to non-parties. Op. 78. The panel’s approach

contravenes the binding precedent above—which requires a narrow tailor-

ing to the plaintiff’s injury—as well as the strictures of Rule 23—which

permits classwide relief only when the plaintiff makes the necessary show-

ing.

       Applying its new rule here, the panel affirmed the district court’s in-

junction because it found the anti-steering provisions might make it more

difficult for Epic to attract consumers to its competing game distribution

store. Id. But the panel never explained why this supposed harm to Epic

and its subsidiaries justified an injunction applicable not only to Epic and




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its subsidiaries, but also to all other U.S. developers. Id. Nor did the panel

address whether it was necessary for Epic to satisfy Rule 23(a) or (b) to

obtain such relief. Id.; see also Apple Br. 111 (arguing that the injunction

constituted de facto classwide injunctive relief).

    And, critically, the panel affirmed even though the district court

never found that it was, in fact, necessary to enjoin Apple’s conduct as to

all U.S. app developers in order to make Epic whole (Califano, 442 U.S. at

702)—as the district court never held an evidentiary hearing to determine

whether such relief was appropriate and there was no such evidence at

trial (see United States v. Microsoft Corp., 253 F.3d 34, 49 (D.C. Cir. 2001)

(a separate evidentiary hearing is required when, after trial, there are dis-

puted factual issues regarding the scope of relief)). Indeed, the court held

only that it had authority to issue the injunction nationally (as opposed to

globally) under the Commerce Clause (1-ER-170)—thereby revealing the

court’s fundamental misunderstanding and failure to address whether it

had power to extend the injunction to non-parties without certifying a class

under Rule 23. And as to both points, the court was wrong. Nat’l Pork

Producers Council v. Ross, 143 S. Ct. 1142, 1156–57 (2023) (discussing the

dormant Commerce Clause and horizontal separation of powers); see also

Rogers v. Lyft, Inc., 452 F. Supp. 3d 904, 919–921 (N.D. Cal. 2020) (without




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a certified class, a federal court lacks Article III power to issue a UCL pub-

lic injunction to redress injuries of non-parties); Planned Parenthood Fed’n

of Am., Inc. v. Ctr. for Med. Progress, 613 F. Supp. 3d 1190, 1218 (N.D. Cal.

2020) (refusing to extend a UCL injunction to non-plaintiff affiliates), aff’d,

2022 WL 13613963 (9th Cir. Oct. 21, 2022).

     By affirming an injunction applicable to all U.S. developers without

requiring the rigors of class certification under Rule 23, the panel’s deci-

sion greenlights overbroad injunctions in individual cases where the rights

and obligations of non-parties are not even considered, let alone repre-

sented—rather than either putting parties through the proper class-action

procedures or otherwise circumscribing equitable orders to only that

which is “necessary to provide complete relief to the plaintiffs” before the

court. Califano, 442 U.S. at 702. The panel’s new rule allows district

courts to issue de facto classwide relief so long as the relief is “tied to” the

plaintiff’s injury. But, by definition, a universal injunction will always be

tied to the plaintiff’s injury.

     The panel’s ruling not only expands the district court’s equitable

power beyond and in contravention of Rule 23, it also creates an inequita-

ble asymmetry whereby non-parties can claim the benefit of a single fa-

vorable ruling without being bound by it. Cf. Wal-Mart Stores, 564 U.S.

at 348. Among other problems, this kind of one-way preclusion violates




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Apple’s due process rights. See Hansberry v. Lee, 311 U.S. 32, 45 (1940).

Indeed, here, U.S. app developers had already brought a nationwide class

challenging restrictions on Apple’s iOS platform; and, as part of the settle-

ment there, Apple agreed to undertake changes to its platform require-

ments that are covered by the district court’s injunction (but not all of

them). Cameron v. Apple Inc., 19-cv-03074-YGR (N.D. Cal. Nov. 5, 2021),

Dkt. No. 451-1. The injunction thus undercuts the entire class-action pro-

cess because it gave Epic the ability to obtain broader relief in a standalone

lawsuit, when a class actually certified under Rule 23 was unable to secure

that relief for itself. Cf. Microsoft Corp. v. Baker, 582 U.S. 23, 27 (2017)

(parties may not exploit Rule 23(f) to “subvert the balanced solution” that

the rule “put in place for immediate review of class-action orders”).

    3. The Supreme Court is poised to take up the important legal ques-

tion of whether and when a court may issue a universal injunctions out-

side of the Rule 23 class action context.

    The recent and controversial proliferation of this type of remedy has

already caught the Justices’ attention. In a case from this Term, Justice

Gorsuch—joined by Justices Thomas and Barrett—observed that “a num-

ber of lower courts have asserted the authority to issue decrees that pur-

port to define the rights and duties of sometimes millions of people who

are not parties before them” and that these “[m]atters have not improved




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with time.” United States v. Texas, No. 22-58, 2023 WL 4139000, at *13

(U.S. June 23, 2023) (Gorsuch, J., concurring). Justice Gorsuch had pre-

viously noted that widespread use of nationwide injunctions “is not nor-

mal,” as they “have little basis in traditional equitable practice.” Dep’t of

Homeland Sec. v. New York, 140 S. Ct. 599, 600 (2020) (Gorsuch, J., con-

curring). And, in his view, the Supreme Court “must, at some point, con-

front these important objections to this increasingly widespread practice.”

Id.; see also Trump v. Hawaii, 138 S. Ct. 2392, 2425 (2018) (Thomas, J.,

concurring) (expressing “skeptic[ism] that district courts have the author-

ity to enter universal injunctions”).

    Scholars and other observers are increasingly paying attention as

well. See Samuel L. Bray, Multiple Chancellors: Reforming the National

Injunction, 131 Harv. L. Rev. 417, 419 & n.6 (2017) (collecting recent arti-

cles); see also Ronald Cass, Nationwide Injunctions’ Governance Problems:

Forum-Shopping, Politicizing Courts, and Eroding Constitutional Struc-

ture, 27 Geo. Mason L. Rev. 29 (2019); Morley, supra, at 632 (allowing fed-

eral district courts “to grant nationwide injunctions [under Rule 23(b)(2)]

creates inconsistencies concerning the scope of their powers”); Nicholas

Bagley, A Single Judge Shouldn’t Have This Kind of National Power, The

Atlantic    (Apr.    14,    2023),      https://www.theatlantic.com/ideas/ar-




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chive/2023/04/mifepristone-case-problem-federal-judiciary/673724/; Edi-

torial Board, The Judicial Injunction Dysfunction, Wall St. J. (July 28,

2019).

    This case provides the Supreme Court with an ideal vehicle for ad-

dressing this issue. Here, the district court did not make a specific finding

that a universal injunction was necessary to provide complete relief to

Epic, and there was no class certification under Rule 23. Thus, the case

concerns the very outer limits of the district court’s equitable powers and

how that power is circumscribed by Rule 23. See Grupo Mexicano de De-

sarrollo S.A. v. All. Bond Fund, Inc., 527 U.S. 308, 333 (1999) (a court has

no power to issue an equitable remedy that was “historically unavailable

from a court of equity”); Wal-Mart Stores, 564 U.S. at 348. Relatedly, there

is currently a circuit split over the relationship between Article III stand-

ing and a plaintiff’s ability to seek classwide relief. See Fox v. Saginaw

County, 67 F.4th 284, 288, 293 (6th Cir. 2023) (noting split over the “jurid-

ical link” doctrine, which allows a plaintiff to sue defendants on behalf of

absent class members, even if those defendants did not specifically injure

the named plaintiff); see also Morley, supra, at 656–57 (questioning dis-

trict court use of Rule 23(b)(2) to issue nationwide injunctions).




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    Further, the case puts into focus the separation-of-powers and feder-

alism principles that have animated the Justices’ concerns about univer-

sal injunctions. See Texas, 2023 WL 4139000, at *17 (Gorsuch, J., concur-

ring) (“[U]niversal relief . . . exaggerates the role of the Judiciary in our

constitutional order, allowing individual judges to act more like a legisla-

ture by decreeing the rights and duties of people nationwide”). Here, the

court issued the injunction under California state law, but made it appli-

cable to all developers around the country, thereby allowing California pol-

icy to override any contrary policy of the 49 other states (and federal gov-

ernment)—which might permit or even encourage Apple’s anti-steering re-

quirements. See, e.g., Carolyn Shapiro, Democracy, Federalism, and the

Guarantee Clause, 62 Ariz. L. Rev. 183, 225 (2020) (observing shift of

power at the state level, with attorneys general using nationwide injunc-

tions to exert “more immediate effects on nationwide policy than can gov-

ernors and state legislatures”); Michael Acton, Epic Games-Apple US Ap-

peals Court Ruling Shows Power of California’s Competition Law, Bliz-

zard Says, MLex (May 10, 2023) (the Epic decision has emboldened Cali-

fornia’s chief antitrust enforcer to “seek nationwide injunctions” under the

UCL, targeting “conduct which may not clearly be illegal under federal

antitrust laws”); see also WLF Amicus Br. 21–28 (noting differences in

state law and policy on “unfair competition”).




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    Indeed, the evidence is undisputed that virtually every digital plat-

form enforces anti-steering (or anti-circumvention) rules analogous to Ap-

ple’s. 4-SER-982–1029. The Supreme Court has sustained such rules as

procompetitive under the federal antitrust laws. Ohio v. Am. Express Co.,

138 S. Ct. 2274, 2289 (2018) (“[T]here is nothing inherently anticompeti-

tive about Amex’s antisteering provisions.”). The issuance of a nationwide

injunction here supplants state and federal policy in favor of a single

judge’s determination, but without any of the procedures that Congress

has provided for class actions.

    In short, the injunction approved by the panel undermines the use

and purpose of class actions, and upsets the balance of federal and state

power. This case thus raises important—and highly controversial—ques-

tions of law that the Supreme Court is likely to review.

      B. The Panel’s Decision Raises a Substantial Question
         About the Proof Necessary for Article III Injury
    The panel’s holding also raises important questions about Article III

standing—in particular the plaintiff’s burden to prove standing at each

successive step of the litigation and the nature of an “actual or imminent”

injury when a party is seeking prospective, injunctive relief. See Lujan v.

Defs. of Wildlife, 504 U.S. 555, 560–61 (1992); see also Clapper v. Amnesty

Int’l USA, 568 U.S. 398, 409 (2013) (a threatened injury must be “certainly




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impending”). Like nationwide injunctions, Article III standing is an im-

portant topic and one the Supreme Court is poised to revisit.

    Epic did not prove at trial that it had been injured by the anti-steering

provisions in the past or that it would experience injury prospectively if

the anti-steering provisions were not enjoined. On the contrary, Epic’s de-

veloper program account has been terminated, and it has no apps on the

App Store.    It is suffering no harm, now or in the future, from the

anti-steering provisions, negating standing to seek injunctive relief. See

Yazzie v. Hobbs, 977 F.3d 964, 965 (9th Cir. 2020); see also Hangarter v.

Provident Life & Accident Ins. Co., 373 F.3d 998, 1021–22 (9th Cir. 2004)

(plaintiff no longer insured by defendant lacks standing to seek injunctive

relief). In the face of this indisputable fact, Epic advanced on appeal a

theory of injury based on “marketplace dynamics” and “basic economics.”

Epic Resp. Br. 90. But it offered no evidence to substantiate this theory,

yet the panel affirmed on the ground that Epic might be injured by losing

commissions on sales through the Epic Games Store or by its subsidiaries.

Op. 78. No evidence in the record supports this conclusion.

    The Supreme Court’s jurisprudence is clear that Article III requires

the proponent of federal jurisdiction to prove particularized and concrete

injury at each successive stage of litigation. See Lujan, 504 U.S. at 560–

61. The panel decision raises a substantial legal question about the degree




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of proof necessary to establish an actual or imminent injury at trial and

the appellate court’s ability to make findings of fact regarding injury based

on economic theory not supported by the trial record.

     Epic cannot cite any evidence in the trial record establishing current

and/or prospective injury to itself from the anti-steering provisions. There

is no evidence supporting the argument it made in the district court (which

it has now abandoned). There is no evidence supporting the argument it

made in this Court (which the panel accepted). There is no evidence, in-

deed, to support Article III injury under any theory. That ought to be the

end of the injunction as a matter of law.

     In addition, the lower courts are in disarray with respect to two issues

presented by Epic’s unsupported theory for standing—the nature of an Ar-

ticle III injury (see, e.g., Pierre v. Midland Credit Mgmt., Inc., 29 F.4th 934,

940 (7th Cir. 2022) (Hamilton, J., dissenting) (noting a “growing circuit

split” on intangible injuries)), and the concept of “imminence” for prospec-

tive relief (see The Supreme Court — Leading Cases: Standing — Chal-

lenges to Government Surveillance — Clapper v. Amnesty International

USA, 127 Harv. L. Rev. 298, 303 (2013) (“Language in Clapper leaves the

scope of future applicability of ‘certainly impending’ unclear”)). Observers

have accordingly advocated for the Supreme Court to revisit these issues




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and clarify its standards. See Bradford C. Mank, Clapper v. Amnesty In-

ternational: Two or Three Competing Philosophies of Standing Law?, 81

Tenn. L. Rev. 211, 274 (2014); Benjamin C. West, No Harm, Still Foul:

When an Injury-in-Fact Materializes in a Consumer Data Breach, 69 Has-

tings L.J. 701, 720 (2018). This case presents an excellent vehicle for doing

so.

II. There Is Good Cause for a Stay
      Because the injunction will have far-reaching consequences to both

Apple and to non-parties, there is good cause for a stay of the mandate

(and hence the injunction) pending disposition of Apple’s petition for a writ

of certiorari. This case is important, not only for Apple and its business

model, but also for thousands of developers and millions of iPhone users

around the country. This Court should not allow a single-plaintiff action

to dictate Apple’s policies nationwide while serious legal questions remain

unresolved.

      As both the panel and district court recognized, Apple distinguishes

itself from Google—and promotes interbrand competition—by providing

greater security and privacy for iOS users than Android users. 1-ER-149;

Op. 53 (“Users who value security and privacy can select (by purchasing

an iPhone) Apple’s closed platform”). Apple has “stud[ied] the effect of”

the injunction and submitted unrebutted evidence after the trial that, if




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implemented, the injunction “will harm users, developers, and the iOS

platform more generally,” in several ways. 1-SER-208–16 (“Kosmynka

Decl.”) ¶ 10. This evidence has never been disputed by Epic.

    In particular, external links will expose users to new and significant

privacy risks and substantially increase the risk of fraud. Kosmynka Decl.

¶¶ 13–16. Because external links operate outside the App Store ecosys-

tem, Apple has no meaningful visibility into their operations, and little

ability to redress fraud by identifying and removing fraudulent actors

from the App Store. Id. ¶¶ 13–14. Through external links, developers may

be able to deceive users—who may believe links to be safe and secured

through the App Store—into providing personal information to a mali-

cious website or platform that is not, in fact, part of the curated App Store

ecosystem. Id. ¶¶ 15–16. These and other potential harms to millions of

consumers demonstrate that the public interest weighs heavily in favor of

a stay. See Ariz. Dream Act Coalition v. Brewer, 757 F.3d 1053, 1069 (9th

Cir. 2014); Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1139–

39 (9th Cir. 2011).

    There is also potential harm to Apple and its reputation if users are

needlessly subjected to scams, fraud, and objectionable content. Such rep-

utational damage constitutes irreparable harm warranting equitable re-

lief. See, e.g., Rent-A-Ctr., Inc. v. Canyon Television & Appliance Rental,




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Inc., 944 F.2d 597, 603 (9th Cir. 1991); Regents of Univ. of Cal. v. Am.

Broad. Cos., 747 F.2d 511, 519–20 (9th Cir. 1984). Additionally, the in-

junction requires Apple to modify various provisions of its licensing agree-

ment with thousands of developers. This is a substantial undertaking that

requires Apple to invest time and resources, which will be unrecoverable

if the injunction ultimately is reversed.

     There is no corresponding prejudice to Epic, which has no apps on the

App Store that could be affected by the now-enjoined provisions. Indeed,

the Court stayed the injunction more than 18 months ago (2-ER-189), yet

Epic never sought relief from the stay. Accordingly, a temporary stay of

the mandate would not cause Epic any prejudice. Cf. Kleppe v. Sierra

Club, 427 U.S. 390, 407–08 (1976) (affirming denial of equitable relief

where the movant could show no harm and the non-movant suffered ir-

reparable harm); Garcia v. Google, 786 F.3d 733, 744–46 (9th Cir. 2015) (a

party was not entitled to injunctive relief when her “harms [were] unteth-

ered from—and incompatible with” the legal basis for the injunction she

sought). The mandate should be stayed to give the Supreme Court the

opportunity to consider Apple’s substantial legal arguments before the in-

junction goes into effect.




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                              CONCLUSION
     The Court should stay issuance of the mandate pending the filing and

disposition of the petition for a writ of certiorari.

Respectfully submitted,

                                            /s/ Mark A. Perry
 Cynthia Richman                            Mark A. Perry
 Zachary B. Copeland                        Joshua M. Wesneski
 GIBSON, DUNN & CRUTCHER LLP                WEIL, GOTSHAL & MANGES LLP
 1050 Connecticut Avenue, NW                2001 M Street NW, Suite 600
 Washington, DC 20036                       Washington, DC 20036
                                            (202) 682-7511
 Theodore J. Boutrous, Jr.                  Mark.Perry@weil.com
 Daniel G. Swanson
 GIBSON, DUNN & CRUTCHER LLP                Julian W. Kleinbrodt
 333 S. Grand Ave.                          GIBSON, DUNN & CRUTCHER LLP
 Los Angeles, CA 90071                      555 Mission St., Suite 3000
                                            San Francisco, CA 94105

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                  CERTIFICATE OF COMPLIANCE
    The undersigned counsel of record certifies that the Motion complies

with the type-volume limitation of Fed. R. App. P. 27(d)(2) and 9th Cir. R.

27-1(1) because, excluding the parts of the Brief exempted by Fed. R. App.

P. 32(f), this document contains 5,188 words.

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App. P. 32(a)(5) and the type-style requirements of Fed. R. App. 32(a)(6)

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                                     /s/ Mark A. Perry
                                     Mark A. Perry
                                     WEIL, GOTSHAL & MANGES LLP
                                     2001 M Street NW, Suite 600
                                     Washington, DC 20036
                                     (202) 682-7511
                                     Mark.Perry@weil.com
July 3, 2023




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                     CERTIFICATE OF SERVICE
    I hereby certify that on July 3, 2023, I electronically filed the foregoing

with the Clerk of the Court using the ECF system, which will send notifi-

cation of such filing to all ECF participants.

                                     /s/ Mark A. Perry
                                     Mark A. Perry
                                     WEIL, GOTSHAL & MANGES LLP
                                     2001 M Street NW, Suite 600
                                     Washington, DC 20036
                                     (202) 682-7511
                                     Mark.Perry@weil.com
July 3, 2023




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